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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

PRISON LEGAL NEWS, : CIVIL ACTION
PLAINTIFE,
CASE NO.: 05-1812 (RBW)
Vv.
HARLEY G. LAPPIN, DIRECTOR,

FEDERAL BUREAU OF PRISONS,
DEFENDANTS

DECLARATION OF KIMBERLY BLOW

I, the undersigned, Kimberly Blow, do hereby make the following

unsworn declaration, pertinent to the above-styled and numbered cause.

1. I am currently a Legal Technician for the Freedom of Information
Acts, Office of the General Counsel, Central Office located in
Washington, D.C. Prior to this position, I was an Administrative
Technician for the Litigation Branch of the Office of General
Counsel, Central Office located in Washington, D.C. In this
position, my responsibilities included maintaining and preparing
reports and statistical information regarding the cases handled in
the Litigation Branch. This declaration supplements my prior

declaration dated October 9, 2008.

2. In searching for responsive records I understood that the request,
2003-08557, sought copies of all documents showing all money paid
by the Bureau of Prisons for lawsuits and claims against it from
the dates of January 1, 1996, through and including July 31,

2003. In October 2006, I was contacted by Renee Brinker
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Fornshill, Associate General Counsel, to search for records in

response to this request.

The only responsive records maintained in Litigation Branch of the
Office of General Counsel would be located in Content Manager
which is a computer database that contains information about cases

against the Bureau.

The only means of creating an accurate and complete list of
responsive records maintained in Central Office was to review

Content Manager.

I conducted this review by utilizing the pre-formatted search
criteria for searching Content Manager. The criteria used were
date range and case resolution. I restricted the dates of the
search to January 1, 1996, through and including, July 31, 2008.

I restricted the case resolution to “settled”.

Based on my review of Content Manager, it was determined that all
responsive claims maintained in Central Office, Litigation Branch
had been identified and I advised Renee Brinker Fornshill of the

results of the search.
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I declare under the penalty of perjury and pursuant to 28 U.S.C.

§ 1746 that the foregoing is true and correct to the best of my

knowledge and belief.

ee Ld
pe

Executed this AD

fs

‘day of March of 2010.

Kimberly Blo
Legal Technician
Freedom of Information Acts/Central Office
